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                    IN THE UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF TEXAS
                             SHERMAN DIVISION

UNITED STATES OF AMERICA                    §
                                            §
v.                                          §           NO. 4:22CR289
                                            §           Judge Jordan
GUY WESLEY REFFITT                          §

            MOTION TO DISMISS INDICTMENT WITH PREJUDICE

      NOW COMES the United States of America and files this Motion to Dismiss the

Indictment with Prejudice, showing the court as follows:

      In light of the Executive Order dated February 20, 2025, Granting Pardon and

Commutation of Sentences for Certain Offenses Relating to the Events at or Near the

United States Capitol on January 6, 2021, the United States moves to the dismiss the

indictment pending against the defendant Guy Wesley Reffitt with prejudice.

      WHEREFORE, the United States moves the Court to grant this Motion and order

that the indictment be dismissed with prejudice.
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                                           Respectfully submitted,

                                           ABE MCGLOTHIN, JR.
                                           ACTING UNITED STATES ATTORNEY

                                           /s/ William R. Tatum
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                              CERTIFICATE OF SERVICE

       I certify that a true and correct copy of this document was electronically filed via

the District Court’s Case Management/Electronic Case File system on the 28th day of

February, 2025, and that defendant’s attorney will thereby receive an electronic copy

thereof.


                                                  /s/ William R. Tatum
                                                  William R. Tatum




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